

Ryan v Ryan (2021 NY Slip Op 07487)





Ryan v Ryan


2021 NY Slip Op 07487


Decided on December 23, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2021

PRESENT: CENTRA, J.P., NEMOYER, WINSLOW, AND BANNISTER, JJ. (Filed Dec. 23, 2021.) 


MOTION NO. (247/21) CA 20-00395.

[*1]KAREN L. RYAN, PLAINTIFF-RESPONDENT, 
vJOHN B. RYAN, DEFENDANT-APPELLANT. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Motion for reargument or leave to appeal to the Court of Appeals denied.








